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                   UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                    NEWPORT NEWS DIVISION
In Re:                                                       Case No.: 21-50907-FJS

MIGUEL ANGEL SOSA AVILA                                      Chapter 13
A/K/A MIGUEL ANGEL SOSA

Debtor.
_____________________________________________________
ELIZA SOSA, in her capacity as
Beneficiary of the ESTATE OF JUAN SOSA AVILA

Plaintiff,

v.                                                           APN____________________________

Miguel Angel Sosa Avila
A/K/A Miguel Angel Sosa

Defendant.
_______________________________________________________


             COMPLAINT TO DETERMINE NONDISCHARGEABILITY OF DEBT
                              [11 U.S.C. § 523(a)(2)]
         COMES NOW, plaintiff ELIZA SOSA, (Eliza) in her capacity as beneficiary of the Estate

of Juan Sosa Avila (the “Estate”), by counsel, pursuant to 11 U.S.C. §523(a)(2) and submits this

complaint to determine the non-dischargeable nature of the fiduciary debt(s) now owed, or hereafter

determined to be owed, to the Estate by defendant Miguel Angel Sosa Avila on the following

grounds:


                                                   Parties


     1. The Plaintiff, Eliza Sosa, (“Eliza Sosa”) is the widow of Juan Manuel Sosa Avila (“Juan

     Sosa”) and is a resident of Mexico. Pursuant to Virginia Code § 64.2-200(A)(1), Eliza Sosa is

     the intestate successor of Juan’s Estate.


     2. Juan Sosa died intestate in the course of his employment on May 28, 2003, as a result of a

     commercial fishing accident.
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 3. Miguel Angel Sosa Avila (“Miguel Sosa”) is a resident of Hampton. Miguel Sosa was the

 brother of the decedent and was married to the Administratix of the Estate, Michelle Sosa

 (“Michelle Sosa”), at the time of the events described in the Complaint.


 4. On December 08, 2021 (the “Petition Date”), Miguel Sosa filed with this Court a voluntary

 petition under chapter 13 of the United States Bankruptcy Code.


 5. R. Clinton Stackhouse, Jr. has been appointed to serve as trustee for the Debtor’s chapter 13

 estate, pursuant to 11 U.S. Code § 1302.


                                      Jurisdiction and Venue


 6. This Court has jurisdiction over this “core proceeding” pursuant to 29 U.S.C §§ 1334(b) and

 157(b)(2)(I). Venue properly lies in this district by virtue of 28 U.S.C. § 1409(a). This is an

 “adversary proceeding” with the meaning of Rule 7001(6) of the Federal Rule of Bankruptcy

 Procedure.


                               Factual and Procedural Background


 7. Paragraphs 1 through 6 are incorporated by reference to this Section of the Complaint.


 8. Juan Sosa Worked as a fisherman and died in course of employment on May 28, 2003, as a

 result of a commercial fishing accident. Juan Sosa died intestate, and left Eliza as his heir at law.

 This heir was listed by the Administratrix in her qualification Papers. At the time of his death,

 Eliza resided in Mexico.


 9. Pursuant to the law of intestate succession, Juan Sosa surviving widow inherited his Estate.

 See Va. Code § 64.2-201. When Juan Sosa died, based on U.S. immigration law and a lack of

 funds for travel, Eliza Sosa was unable to come to the U.S. in order to qualify as the

 Administratrix of the Estate of her husband. Under these circumstances, Michelle Sosa assumed
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 the duties of Administratrix.


 10. When he was not away for his job, Juan Sosa lived with his brother Miguel Sosa. Following

 Juan Sosa’s death, Miguel Sosa and his wife, Michelle Sosa, took charge of Juan Sosa’s

 personal affairs. After Michelle Sosa became the Administratrix of Juan Sosa’s Estate in

 Hampton, Virginia, Michelle Sosa named Eliza Sosa as heir at law of Juan Sosa’s Estate which

 she valued at less than $10,000. (See Exhibit 1.) This exempted her from the bond. (See

 Exhibit 2.)


 11. Based on information and belief, on January 27, 2004, as part of an insurance payout

 resulting from Juan Sosa’s death, the law firm of Hunton & Williams issued a three-hundred

 thousand dollars ($300.000.00) check to Michelle Sosa payable to the Estate account in the

 Bank of America in Norfolk, Virginia. (See Exhibit 3).


 12. After depositing the check into the estate account, Michelle removed the funds from the

 estate account. Michelle Sosa Avila in conjunction with Miguel Sosa Avila used those funds to

 purchase the real estate holdings listed in the debtor’s Chapter 13 Plan and listed in this

 Complaint in paragraph 13 below.


 13. Miguel Sosa converted the $300,000 payment made to the estate of Juan Sosa to his own

 use. Specifically using the proceeds to buy the following properties:


        A. 253 Beauregard Heights, Hampton, Virginia


        B. 1269 N. King St, Hampton, Virginia


        C. 112 Beverly Street, Hampton, Virginia


        D. 329 Walnut Street, Hampton, Virginia


        E. 400 Cedar Drive, Hampton, Virginia
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        F. 431 Walnut St, Hampton, VA

 14. On February 9, 2015, Eliza Sosa, by counsel filed her Complaint against Miguel Sosa and

 Michelle Sosa in the Circuit Court of the City of Hampton to seek compensatory damages in the

 amount of $300,000 plus costs and fees, and $350,000 in punitive damages. (See Exhibit 4).


 15. Subsequently, on March 26, 2018, the Court granted default judgment in favor of Eliza Sosa,

 and Ordered judgment against Miguel Sosa, in the amount of $300,000 with interest from

 February 5, 2004, as well as the costs expended on behalf of Eliza Sosa. (See Exhibit 5).


 16. The judgment against Defendant Debtor Miguel Sosa was recorded in the City of Hampton

 Clerk’s office on April 9, 2018, with a judgment reference number 18-1321. (See Exhibit 6).


 17. On February 28, 2019, Eliza Sosa, by counsel, filed a Complaint in the Circuit Court of the

 City of Hampton to appoint a Commissioner in Chancery in order to enforce the lien of Eliza

 Sosa’s judgment against Miguel Sosa and submit a report on the properties listed in paragraph

 13. (See Exhibit 7). Further Eliza Sosa requested that the Court award attorney’s fees and costs

 in connection with the pursuit of this action, to include filing and service fees, title search fees,

 and the fees and costs of the Commissioner in Chancery appointed, and that the Court award

 such other relief as deemed just, necessary, and proper. (See Exhibit 7).


 18. On June 5, 2020, Eliza Sosa, by counsel, motioned the Circuit Court of the City of Hampton

 for Entry of a Decree of Reference and the Court appointed J. Robert Harris, III, Esq. as a

 Commissioner in Chancery to report on the properties listed in paragraph 13. (See Exhibit 8).

 Accordingly, the Court granted the motioned and entered a Chancery Decree of Reference on

 August 12, 2020. (See Exhibit 9).


 19. Commissioner Harris submitted his Report to the Court on June 14, 2021, recommending

 that the Plaintiff’s relief be granted and that a Special Commissioner be appointed for the

 purpose of selling the Properties by means the Special Commissioner, with Court approval
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 deems appropriate to obtain the highest value from the Properties which are to be applied to the

 Special Commissioner’s fees and toward payment of the Judgement. (See Exhibit 10).


 20. On September 30, 2021, Eliza Sosa, by counsel filed a Motion for Decree Confirming

 Commissioner’s Report and Ordering Sale. (See Exhibit 11). On December 6, 2021, the Court

 granted the Motion and Ordered the Sale of the properties listed in paragraph 13. The Court

 appointed Greg Blanchard, Esq. as Special Commissioner to oversee the sale of the properties.


 21. Miguel Sosa filed a Notice of Bankruptcy Case Filing on December 8, 2021, staying the

 collections actions in Circuit Court of the City of Hampton.


 22. Inclusive of interest, accruing at the statutory six percent (6.0%) per annum judgment rate

 (Va. Code § 6.1-330.54), the accumulated sum of $ 607,211.6 remained due and owing to the

 Estate (and derivatively to the Beneficiary, Eliza Sosa) as of the Petition Date, exclusive of

 additional post-judgment attorney’s fees, costs and interest accruing from and after the Petition

 Date.


                            Requested Relief – Fraud/Defalcation
                                    11 U.S.C. §523(a)(2)

 23. Paragraphs 1 – 22 are incorporated by reference to this Section of the Complaint.


 24. Section 523(a)(2)(A) of the United States Bankruptcy Code excepts from discharge any

 debt:


    “For money, property services, or extension, renewal, or refinancing of credit, to the extent
    obtained by false pretenses, a false representation, or actual fraud, other than a statement
    respecting the debtor’s or an insider’s financial condition;”

 25. Creditor Eliza Sosa suffered a loss as a result of the theft and conversion of funds owed to

 her by the Administratix. In this case Michelle and Miguel Sosa Avila conspired to deprive

 Eliza Sosa of her inheritance, then subsequently converted the funds paid for the death of her

 husband to use these funds for they’re own benefit by purchasing the several properties listed in
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   this Complaint. This conversion by the Sosa’s ‘s Defrauded the widow Eliza Sosa Avila of the

   funds to which she was intitled under Virginia laws concerning intestate succession. (See

   Virginia Code § 64.2-200(A)(1)).


   26. Eliza Sosa through her counsel, has initiated a criminal investigation of Michelle and Miguel

   Sosa for embezzlement contained in this Complaint and he allegations have been reported to law

   enforcement.


      WHEREFORE, Eliza Sosa respectfully requests this Court to enter an order determining

   Miguel Sosa’s obligation to the Estate (and derivatively to the Beneficiary, Eliza Sosa) to be

   nondischargeable: (i) in the amount of $301,211.06; (ii) PLUS additional interest accruing on

   the $300,000 judgment amount of the State Court Order at the judgment rate of six percent

   (6.0%) per annum from February 5, 2004; (iii) PLUS the additional costs and attorney’s fees of

   incurred by Eliza Sosa or the Estate relative to the filing and prosecution of this complaint; (iv)

   PLUS such other and further relief as is just and equitable.


             NOTICE OF HEARING ON COMPLAINT TO DETERMINE
                     NONDISCHARGEABILITY OF DEBT
                          [11 U.S.C. § 523(a)(2)]

The Creditor has filed papers with the Court for Authority of COMPLAINT TO DETERMINE
NONDISCHARGEABILITY OF DEBT.

      Your rights may be affected. You should read these papers carefully and
discuss them with your attorney if you have one in this bankruptcy case. (If
you do not have an attorney, you may wish to consult one.)

If you want to be heard on this matter, then on or before twenty-one (21) days
from the date appearing on this notice, you or your attorney must:

      [X] File with the Court, at the address shown below, a written request for a
      hearing [or a written response pursuant to Local Bankruptcy Rule 9013-1(H)]. If you
      mail your request for hearing (or response) to the Court for filing, you must mail it
      early enough so the Court will receive it on or before the date stated above.
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              Clerk of Court
              United States Bankruptcy Court
              600 Granby Street, Room 400
              Norfolk, VA 23510-1915

              You must also mail a copy to:

              E. Wayne Powell, Esq.
              Powell Law Group, P.C.
              14407 Justice Rd.
              Midlothian, VA 23113

              Christian D. DeGuzman, Esq.
              DeGuzman Law, PLLC
              JANAF Building, Fifth Floor
              5900 E. Virginia Beach Blvd., Suite 507
              Norfolk, VA 23502

              R. Clinton Stackhouse, Jr.
              Chapter 13 Standing Trustee
              7021 Harbour View Blvd., Suite 101
              Suffolk, VA 23435

[X]    Attend a hearing to be scheduled at a later date. You will receive separate
       notice of hearing. If no timely response has been filed opposing the relief
       requested, the Court may grant the relief without holding a hearing.

[]     ATTEND THE HEARING SET FOR:
       TAKE NOTICE that, pursuant to Norfolk Standing Order No. 20-4, the
       hearing on the COMPLAINT will be conducted remotely by Zoom for Government
       on _________________ at ____ A.M. If you wish to appear at the
       hearing, please review Norfolk and Newport News Standing Order No. 20-4,
       available on the Court’s website, for more information on how to appear at
       the hearing remotely.

       Please refer to PROTOCOL EXHIBIT 2 for instructions on appearing at the
       hearing.
       To Appear for your hearing, you must email a completed PDF-fillable request
       for (the “Zoom Request Form”), available on the Court’s website at

       https://www.vaeb.uscourts.gov/sites/vaeb/files/ZoomRegistration.pdf to:
       EDVABK-ZOOM-Chief_Judge_Santoro@vaeb.uscourts.gov

       This form must be emailed NO LATER THAN 2 BUSINESS DAYS PRIOR TO
       THE SCHEDULED HEARING.

      If you or your attorney do not take these steps, the Court may decide that you do not
oppose the relief sought and may enter an order granting that relief.
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                                    LIST OF EXHIBITS


 Exhibit#      Date                                       Description
    1       12/31/2003    List of Heirs
    2       07/03/2003    Certificate Appointing Michelle Sosa Administratrix
    3       01/292004     Hunton & Williams Check No. 3336 for $300,000.00
    4       02/09/2015    Complaint in the City of Hampton Circuit Court
    5       03/26/2018    Order For Default Judgement
    6       04/09/2018    Docketed Judgment Lien
    7       02/28/2019    Complaint in the Circuit Court of Hampton to Appoint a Commissioner in
                          Chancery
    8       06/05/2020    Motion For Decree of Reference
   9        08/12/2020    Chancery Decree of Reference
   10       06/14/2021    Report of Commissioner
   11       12/06/2021    Motion for Decree Confirming Commissioner’s Report and Ordering Sale
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